Case 3:12-cr-00220-L Document 426 Filed 09/03/13  Page 1 of 1                                    PageID 1216
                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

UNITED STATES OF AMERICA
                                                           §
v.                                                         §
                                                           §         NO. 3:12-CR-220-L
BENICIO PENA, JR (18)                                      §
                                                           §

                                REPORT AND RECOMMENDATION
                                 CONCERNING PLEA OF GUILTY

        Defendant, by consent, under authority of United States v. Dees, 125 F.3d 261 (5th Cir. 1997), has
appeared before me pursuant to FED. R. CRIM.P. 11, and has entered a plea of guilty to Count 1 of the
superseding information. After cautioning and examining the Defendant under oath concerning each of
the subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and
that the offense charged is supported by an independent basis in fact containing each of the essential
elements of such offense. I therefore recommend that the plea of guilty be accepted and that the
Defendant be adjudged guilty and have sentence imposed accordingly. After being found guilty of the
offense by the district judge,

     ⃞ The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds
       by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
       other person or the community if released.
           ⃞ The Government does not oppose release.
           ⃞ The defendant has been compliant with the current conditions of release
           ⃞ I find by clear and convincing evidence that the defendant is not likely to flee or pose a
               danger to any other person or the community if released and should therefore be released
               under § 3142(b) or (c).

             ⃞ The Government opposes release
             ⃞ The defendant has not been compliant with the conditions of release.
             ⃞ If the Court accepts this recommendation, this matter should be set for hearing upon the
               motion of the Government.

     ✓The Defendant must be ordered detained pursuant to U.S.C. § 3143(a)(2) unless – (A)(i) the Court
     finds there is a substantial likelihood that a motion for acquittal or new trial will be granted, or (ii) the
     Government has recommended that no sentence of imprisonment be imposed, and (B) the Court finds
     by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any other
     person or the community if released.

Date: 09/03/2013




                                               NOTICE
Failure to file written objections to this Report and Recommendation within fourteen (14) days from the
date of its service shall bar an aggrieved party from attacking such Report and Recommendation before
the assigned United States District Judge. 28 U.S.C. §636(b)(1)(B).
